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                       EXHIBIT 3
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                (Baltimore Division)

JUDICIAL WATCH, INC.                             *
                                                 *
                Plaintiff,
v.                                               *      Case No.: 17-cv-02006-ELH

LINDA H. LAMONE, et al.                           *
                                                 *
                Defendants.

*      *        *      *      *     *       *    *      *      *      *      *      *
                    DECLARATION OF MARY CRAMER WAGNER

       Mary Cramer Wagner hereby deposes and states as follows:

       I.       I am more than 18 years of age and am competent to testify, upon personal

knowledge, to the facts set forth herein.

       2.       I am employed as Director of Voter Registration and Petition Division for

the Maryland State Board of Elections ("SBE").

       3.       I have been employed by SBE since July 200 I. My job duties include

oversight of the SBE's voter list-maintenance programs.

       4.       As a result of my experience as Director of Voter Registration and Petition

Division for the SBE, I have personal knowledge of the SBE's voter list-maintenance

practices and of the documents that the SBE maintains concerning its voter list-

maintenance program.
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       5.     I have knowledge of the facts stated herein based upon by experience as

Director of Voter Registration and Petition Division of the SBE.

       6.     In April, 2017, the SBE received a letter from Judicial Watch, Inc.

("Judicial Watch"), requesting certain documents pursuant to § 8(i) of the National Voter

Registration Act ("NVRA"), 52 U.S.C. § 20507(i).


       7.     Specifically, Judicial Watch demanded "all pertinent records concerning the

'implementation of programs and activities conducted for the purpose of ensuring the

accuracy and currency' of Maryland's official eligible voter lists during the past 2 years."


       8.     In response to Judicial Watch's request, the SBE produced extensive

documentation, including audit reports from 2015 to May 2017 for each Maryland

county's list-maintenance practices.    These audit reports reflect the results of audits

conducted by SBE to ensure that local elections officials are complying with the NVRA's

list-maintenance requirements. ·


       9.     In addition, the SBE produced the registrar "newsletters" that SBE issues to

provide guidance to local election officials on various issues, including NVRA

compliance, for time period of 2014 to May, 2017. The SBE also produced copies of e-

mail correspondence of SBE staff related to specific list-maintenance issues.


       I hereby declare, under the penalty of perjury, that the contents of the foregoing
are true and correct.



                                                                      Date/Jt.(t-;t1 7
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